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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

-----------------------------------x
Innocent Ulahannan,                :
                                   :
                                   :         20 Civ. 506 (LAP)
               Plaintiff,          :
                                   :
          -against-                :         ORDER OF CONFERENCE
                                   :
Roosevelt Island Operating         :
Corporation, et al.,               :
                                   :
               Defendants.         :
-----------------------------------x


LORETTA A. PRESKA, Senior United States District Judge:



          It is hereby

          ORDERED that counsel are directed to appear via

telephone on February 11, 2021 at 10:30 a.m. for an Initial

Pretrial conference in the above action.       The dial-in for the

conference is (888) 363-4734, access code 4645450.



SO ORDERED.

                                 _________________________________

                                 LORETTA A. PRESKA, Senior U.S.D.J.

Dated: January 7, 2021

       New York, New York
